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                       UNITED STATES DISTRICT COURT
18
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
20                                           )
21           Plaintiffs,                     )   JOINT STATUS REPORT RE
                                             )   SEPTEMBER 26, 2018 ORDER RE
22                v.                         )   PROPOSED SPECIAL
23
                                             )   MASTER/INDEPENDENT
     LORETTA E. LYNCH, Attorney              )   MONITOR
24   General of the United States; et al.,   )
25
                                             )
             Defendants.                     )
26                                           )
                                             )
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           On September 26, 2018, the Court issued an order nominating “Andrea
 2
     Sheridan Ordin to the position of Special Master/Independent Monitor.” ECF No.
 3

 4   489. The Court asked the parties to “file a joint status report indicating whether

 5   they have any objections to the appointment of Ms. Ordin as the Special
 6
     Master/Independent Monitor.” Id. Defendants maintain their objections to the
 7

 8
     appointment of a Special Master/Independent Monitor in this case. However, both

 9   parties state that they have no objections to Andrea Sheridan Ordin as the nominee.
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11
     DATED:       October 1, 2018           Respectfully submitted,
12

13                                          /s/ Peter A. Schey (with permission)
                                            PETER A. SCHEY
14
                                            Center for Human Rights and Constitutional
15                                          Law
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 1
                               CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on October 1, 2018, I served the foregoing pleading

 4   with attachments on all counsel of record by means of the District Clerk’s
 5
     CM/ECF electronic filing system.
 6

 7

 8                                                /s/ Sarah B. Fabian
 9                                                SARAH B. FABIAN
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